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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

UNITED STATES OF AMERICA                       §
                                               §
                     Government,               §
                                               §
VS.                                            §    CRIMINAL NO. H-05-337
                                               §
ANGELA ARMSTRONG, et al.,                      §
                                               §
                     Defendants.               §

                                           ORDER

              Defendant Ramcharan filed an unopposed motion for continuance and motion

to certify case as a complex, (Docket Entry No.47). The co defendants are unopposed to

the motion. The court finds that the interests of justice are served by granting this

continuance and that those interests outweigh the interests of the public and the defendants

in a speedy trial. The motion to declare this case complex is GRANTED. The motion for

continuance is GRANTED. The docket control order is amended as follows:

       Motions to be filed by:                           December 7, 2006
       Response to motions to be filed by:               December 21, 2006
       The pretrial conference is reset to:              January 8, 2007, at 8:45 a.m.
       The jury trial and selection are reset to:        January 16, 2007, at 9:00 a.m.

              SIGNED on July 25, 2006, at Houston, Texas.


                                         ______________________________________
                                                      Lee H. Rosenthal
                                                 United States District Judge
